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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

1:23-cr-00568-RMB- |
UNITED STATES OF AMERICA, Mag No,

vy, ORDER

MANUEL A. QUINONES

+

Defendant.

Pursuant to Rule 5(4) of the Federal Rules of Criminal Procedure, and as set forth on

D5 July

the record during the initial appearance of the defendant on this day of ,

2023, in the presence of both the prosecutor and defense counsel in this matter, the Court
confirms the United States’ continuing obligation to produce all exculpatory evidence to the
defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to
do so, Failing to do so in a timely manner may result in consequences, including, but not limited
to, the Court’s order to produce information, the granting of a continuance, the exclusion of
evidence, adverse fury instructions, dismissal of charges, contempt proceedings, or sanctions by

the Court.

s/Elizabeth A. Pascal

Hon, Elizabeth A. Pascal
United States Magistrate Judge

